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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                            :   CASE NO. 18-69019-LRC
                                                  :
MARVELAY, LLC,                                    :
                                                  :   CHAPTER 7
          Debtor.                                :
                                                 :

               TRUSTEE’S APPLICATION FOR APPROVAL OF EMPLOYMENT
                         OF PORTNOY, GARNER & NAIL, LLC,
                 AS SPECIAL LITIGATION COUNSEL FOR THE TRUSTEE

          COMES NOW Martha A. Miller, in her capacity as the Chapter 7 Trustee (the “Trustee”

or “Applicant”) for the bankruptcy estate of Marvelay, LLC (the “Debtor”), and hereby files this

Application for Approval of Employment of Garrett Nail and Portnoy, Garner & Nail, LLC, as

Special Litigation Counsel for the Trustee (the “Application”). In support of the Application, the

Trustee shows the Court as follows:

          1.     This case was commenced by the Debtor’s filing of a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Code on November 9, 2018 (the “Petition Date”)

(Dkt. No 1).

          2.     Martha A. Miller was appointed as the interim Trustee on November 13, 2018 (Dkt.

No. 5).

          3.     The Section 341 hearing was held and concluded on February 19, 2019, after which

Martha A. Miller became the permanent Chapter 7 Trustee pursuant to 11 U.S.C. § 702.

          4.     The Trustee desires to retain Garrett Nail and Portnoy, Garner & Nail, LLC

(collectively, “PGN”) with offices at 3350 Riverwood Pkwy, Suite 460, Atlanta 30339, (404) 688-

8800, as Applicant’s special litigation counsel to pursue certain avoidance claims, including
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fraudulent conveyance actions, and certain other causes of action and remedies on behalf of the

Debtor’s estate (collectively, the “Avoidance Claims and Related Causes of Action”).

       5.        Applicant shows that it is necessary to retain special litigation counsel, in addition

to its legal counsel of Lamberth, Cifelli, Ellis & Nason, P.A. (“LCEN”), to render legal advice and

assistance to the Applicant, due to the number and scope of Avoidance Claims and Related Causes

of Action. PGN and LCEN will coordinate efforts to avoid unnecessary duplication of services

and fees.

       6.        The professional services PGN, as special litigation counsel, will provide to the

Trustee include:

                 (a)    Legal advice in assessing the Avoidance Claims and Related Causes of

Action and drafting appropriate legal documents in the course of such assessment;

                 (b)    Preparation on Trustee’s behalf of the complaints, motions, pleadings,

discovery papers, and all other papers reasonably necessary to pursue the Avoidance Claims and

Related Causes of Action;

                 (c)    Legal advice regarding any trial or settlement offer with respect to the

Avoidance Claims and Related Causes of Action;

                 (d)    Examination and defense of witnesses in deposition or trial relating to the

Avoidance Claims and Related Causes of Action;

                 (e)    Preparation of pre-trial orders, preparation for trial, trial, and prosecution of

any appeals or related proceedings as may arise from the Avoidance Claims and Related Causes

of Action; and

                 (f)    Performance of all other legal services for Trustee regarding the Avoidance

Claims and Related Causes of Action and attendant matters.



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       7.      Applicant further shows that Garrett Nail is admitted to practice in this Court, has

knowledge and substantial experience with regard to bankruptcy avoidance actions, fraudulent

transfer claims, and the other matters in which the firm is to be engaged, and is well qualified to

represent Applicant. Included with PGN’s Bankruptcy Rule 2014 Verification, attached hereto as

Exhibit “A”, is the declaration of Garrett Nail, which includes hourly rates and policies regarding

reimbursement of expenses. Applicant anticipates that PGN will seek reasonable compensation

based upon the recognized factors for compensation under applicable law. No compensation will

be paid by Applicant to PGN except upon application to, and approval by, the Bankruptcy Court

after notice and hearing as required by law.

       8.      To the best of Applicant's knowledge: PGN represents no interest adverse to

Applicant, Debtor, or the Debtor’s bankruptcy estate in the matters upon which it is to be engaged;

PGN’s attorneys are disinterested persons under 11 U.S.C. §101(14) with regard to the matters

upon which they are to be engaged; and the appointment of PGN will be in the best interests of the

Debtor, its bankruptcy estate and creditors, and other parties in interest.

       WHEREFORE, Applicant prays for authority to retain and employ the law firm of Portnoy,

Garner & Nail, LLC, in this case for the purposes specified herein above, and that Applicant have

such other and further relief as this Court deems just and proper.

       This 15th day of October, 2020.


                                               s/ Martha A. Miller
                                               Martha A. Miller
                                               Georgia Bar No. 507950
                                               Chapter 7 Trustee

P.O. Box 5630
Atlanta, Georgia 31107
mmiller@mmillertrustee.com



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                                         EXHIBIT "A"

                     RULE 2014 VERIFICATION WITH REGARD TO
                           EMPLOYMENT OF ATTORNEYS

       The undersigned hereby declares under penalty of perjury:

       1.      I am a Partner of the law firm of Portnoy, Garner & Nail, LLC, a limited liability
company engaged in the practice of law with offices at 3350 Riverwood Pkwy, Suite 460, Atlanta
30339, (404) 688-8800 (the “PGN”). I am duly admitted to practice in the State of Georgia and in
the United States District Court, Northern District of Georgia.

       2.       PGN has been asked to represent Martha A. Miller, in her capacity as Chapter 7
Trustee (“Trustee”) for the bankruptcy estate of Marvelay, LLC (“Debtor”). To the best of my
knowledge, PGN has no professional, business, or other connection with the aforementioned
Debtor, its attorneys, creditors, or any party in interest in this case.

        3.      PGN represents no interest which would be adverse to the estate of the Debtor in
connection with the matters upon which PGN is to be engaged. Accordingly, I believe PGN is a
“disinterested person” as that term is defined in 11 U.S.C. § 101(14), as modified by 11 U.S. C. §
1107(b).

        4.     By reason of the foregoing, I believe that PGN is eligible for employment and
retention by Debtor pursuant to the Bankruptcy Code and the applicable Bankruptcy Rules.

       5.    PGN intends to apply to the Court for allowance of compensation and
reimbursements of expenses in accordance with applicable provisions of the Bankruptcy Code, the
Bankruptcy Rules, the Local Rules, and Orders of this Court.

       6.      I have extensive experience in bankruptcy matters, including having represented
debtors and debtors in possession, committees, secured creditors, unsecured creditors, trustees, and
purchasers of assets in bankruptcy. I have pursued and defended numerous avoidance actions,
including fraudulent transfer claims and preference claims.

        7.     PGN has agreed with Debtor to bill at the rate of $400 per hour for my time and
$150 per hour for paralegal time. PGN will charge ten cents per page for black-and-white
document reproduction. PGN’s charges for electronic research are approximately equivalent to
PGN’s direct costs for these services. Air travel will be at coach fare. Automotive travel will be
subject to reimbursement at the IRS guideline amount or our out of pocket cost.

       I verify that the above statements are true to the extent of my present knowledge and belief.

       Dated this 15th day of October, 2020.
                                                      /s/ Garrett A. Nail
                                                     Garrett Nail
                                                     Georgia Bar No. 997924
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing Application for
Approval of Employment of Portnoy, Garner & Nail, LLC, as Special Litigation Counsel for the
Trustee, using the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of
this document and an accompanying link to this document to the following parties who have
appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

   Jonathan A Akins
   jakins@swfllp.com                                     Martha A. Miller
                                                         mmiller@mmillertrustee.com
   John A. Christy
   jchristy@swfllp.com                                   Office of the United States Trustee
   amcrae@swfllp.com                                     ustpregion21.at.ecf@usdoj.gov

   Will B. Geer                                          William A. Rountree
   wgeer@wiggamgeer.com                                  wrountree@rlklawfirm.com
   willgeer@ecf.courtdrive.com                           swenger@rlklawfirm.com
   2836@notices.nextchapterbk.com                        yalamin@rlklawfirm.com
                                                         6717577420@filings.docketbird.com
   Whitney W. Groff                                      R71213@notify.bestcase.com
   wgroff@law.ga.gov                                     csmith@rlklawfirm.com
                                                         ablanco@rlklawfirm.com
   Jacquelyn L. Kneidel                                  bwenger@rlklawfirm.com
   jkneidel@law.ga.gov

        I further certify that on this day I caused a copy of the foregoing Application for Approval
of Employment of Portnoy Garner & Nail, LLC, as Special Litigation Counsel for the Trustee to
be served via United States First Class Mail, with adequate postage prepaid on the following parties
set forth below, at the address shown for each:

 Marvelay, LLC.
 2601 Summers St, Suite 300
 Kennesaw, GA 30144




Dated: October 15, 2020.                              /s/ Gregory D. Ellis
                                                     Gregory D. Ellis
                                                     Georgia Bar No. 245310
                                                     gellis@lcenlaw.com
